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                                            IN THE
                             UNITED STATES COURT OF APPEALS
                                 FOR THE SEVENTH CIRCUIT
                             ______________________________________

                                                  No. 23-2543

                                              KAYLA SMILEY,

                                             Plaintiff/Appellant,

                                                         v.

                                 DR. KATIE JENNER, in her official
                                            capacity,

                                            Defendant/Appellee.

                           _________________________________________

                   On Appeal from the United States District Court for the
                     Southern District of Indiana, Indianapolis Division
                                No. 1:23-cv-1001-JPH-MKK
                          The Honorable James P. Hanlon, Judge


                                 REPLY BRIEF OF APPELLANT
                                  _____________________________


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                                 INTRODUCTION

      There is, of course, no disagreement between the parties that Section 2 of

House Enrolled Act 1608, codified as Indiana Code § 20-30-17-2 (“the statute”),

prohibits Ms. Smiley from providing “instruction” on “human sexuality” to her first

through third grade students. But the statute defines neither “instruction” nor

“human sexuality,” and due to the vagueness of these terms, Ms. Smiley is forced to

engage in self-censorship of protected speech in order to avoid placing her licensure

in jeopardy.

      In the district court, the defendant (“State”) argued that there are no

vagueness or First Amendment concerns with the statute because it only applies to

the formal teaching of sex education in the classroom during class time. Of course,

the statute itself does not indicate this, and it is hopelessly vague. But the statute’s

vagueness is made even plainer by the State’s position on appeal: the State now

presents a new and significantly broader interpretation, both regarding what

constitutes “instruction” and what falls within the ambit of “human sexuality”. These

ever-expanding interpretations of the statute alone demonstrate that it is fatally

vague. The State’s other arguments are no more persuasive, and Ms. Smiley is likely

to prevail on her claims that the statute’s vagueness violates both due process and

the First Amendment. As all the other requirements for the grant of a preliminary

injunction are met, one should issue without bond.




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                        SUMMARY OF THE ARGUMENT

1.    “The void for vagueness doctrine rests on the basic due process principle that

a law is unconstitutional if its prohibitions are not clearly defined.” Hegwood v. City

of Eau Claire, 676 F.3d 600, 603 (7th Cir. 2012) (citation omitted). “A statute is

unconstitutionally vague if it (1) does not provide a person of ordinary intelligence a

reasonable opportunity to know what is prohibited, or (2) fails to provide explicit

standards to prevent arbitrary discriminatory enforcement by those enforcing the

statute.” United States v. Nagelvoort, 856 F.3d 1117, 1130 (7th Cir. 2017) (internal

quotation and citation omitted). The State erroneously cites to United States v.

Salerno, 481 U.S. 739, 745 (1987), contending that in order to succeed in a vagueness

challenge, Ms. Smiley “must establish that no set of circumstances exists under which

the Act would be valid.” (Appellee’s Br. at 35). But the Supreme Court has limited

the application of Salerno in the context of facial vagueness challenges, and the “no

set of circumstances” test simply does not apply here. See Johnson v. United States,

576 U.S. 591, 602 (2015).

      The statute is impermissibly vague. First, the statutory terms “instruction”

and “human sexuality” lack ascertainable meaning. The State’s shifting positions

regarding the meaning of these terms themselves demonstrate the statute’s

vagueness, and the district court erred in determining that the statute contained a

“discernible core” of meaning. The statute also fails to provide explicit standards to

prevent arbitrary or discriminatory enforcement. It provides no standards to

constrain the actions of the individual solely charged with enforcing teacher

licensure—the Secretary of Education—and the vagueness of the statute renders it
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amenable to arbitrary or discriminatory enforcement.

2.    The statute also violates the First Amendment. Although the district court

concluded, and the State on appeal primarily argues, that Ms. Smiley’s private speech

was not implicated by the statute, this conclusion contradicts the Supreme Court’s

recent analysis in Kennedy v. Bremerton School District, 597 U.S. 507 (2022). There,

the Supreme Court cautioned that courts should not commit the error of “treating

everything teachers and coaches say in the workplace as government speech subject

to government control.” Id. at 530-31. Certainly Ms. Smiley speaks as a private

person in any number of her interactions with students.

      Although the State erroneously disputes this point, the statute is a form of

prior restraint in that it imposes a prohibition on speech before it occurs. This is the

most disfavored form of speech regulation, and an additional weight is therefore

added to the balance in favor of Ms. Smiley’s speech. The State must show that the

interests of both the “vast group of present and future employees in a broad range of

present and future expression,” and of their potential audiences in hearing that

expression, “are outweighed by that expression’s necessary impact on the actual

operation of the Government.” United States v. Nat’l Treasury Employees Union

(“NTEU”), 513 U.S. 454, 468 (1995) (quotation and citation omitted). The State cannot

meet this burden, and the statute is unconstitutionally overbroad in violation of the

First Amendment.

      Even if the prohibition is evaluated without the heightened scrutiny that

applies to prior restraints, it nonetheless fails. Ms. Smiley’s interests in her private


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speech are “not outweighed by the state’s interests as an employer in promoting

effective and efficient public service.” Swetlik v. Crawford, 738 F.3d 818, 825 (7th Cir.

2013) (quotation and citation omitted). Ms. Smiley’s speech activities do not inhibit

her employer’s provision of effective and efficient public service, and they are

protected. Due to the statute, Ms. Smiley self-censors and chills her speech so that

she does not risk running afoul of the statutory prohibitions. The chilling effect is

unreasonable, and the statute violates the First Amendment.

3.    All of the other requirements for a preliminary injunction are met, and this

case should be remanded to the district court with instruction that a preliminary

injunction should issue.




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                                    ARGUMENT

I.    The statute is unconstitutionally vague in violation of the Fourteenth
      Amendment

      “A statute is unconstitutionally vague if it (1) does not provide a person of

ordinary intelligence a reasonable opportunity to know what is prohibited, or (2) fails

to provide explicit standards to prevent arbitrary discriminatory enforcement by

those enforcing the statute.” Nagelvoort, 856 F.3d at 1130 (quotation and citation

omitted). For the reasons articulated in Ms. Smiley’s opening brief, this statute fails

each of these requirements, and the State’s arguments to the contrary are

unpersuasive. (See Appellant’s Br. at 15-24).

      A.     The State continues to cite and apply the incorrect legal standard for
             vagueness challenges

      As it did in the trial court, and citing to United States v. Salerno, 481 U.S. 739,

745 (1987), the State contends that in order to succeed in a vagueness challenge, Ms.

Smiley “must establish that no set of circumstances exists under which the Act would

be valid.” (Appellee’s Br. at 16 [quotation omitted]; see also id. at 35). But this

argument ignores the Supreme Court’s express limitation on Salerno.

      In a series of cases involving criminal statutes that vaguely described predicate

offenses for sentencing enhancements, the Supreme Court clarified that “although

statements in some of our opinions could be read to suggest otherwise, our holdings

squarely contradict the theory that a vague provision is constitutional merely because

there is some conduct that clearly falls within the provision’s grasp.” Johnson v.

United States, 576 U.S. 591, 602 (2015) (emphasis by the Court); see also United

States v. Davis, 588 U.S. --, 139 S. Ct. 2319 (2019); Sessions v. Dimaya, 584 U.S. --,
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138 S. Ct. 1204 (2018). The Salerno “no set of circumstances” test simply does not

apply in a facial vagueness challenge, and the State’s contentions to the contrary are

incorrect. See, e.g., United States v. Caldwell, 655 Fed. App’x 730, 732 (11th Cir.

2016) (applying Johnson and noting that a statute can be vague even if it clearly

covers some conduct); United States v. Morales-Lopez, 2022 WL 2355920, at *3 (D.

Utah 2022), appeal pending, No. 22-4074 (10th Cir.) (“Johnson clarified that a

challenger need not make [the no set of circumstances] showing.”); United States v.

Madison, 337 F. Supp. 3d 1186, 1196 n.7 (M.D. Fla. Oct. 10, 2018) (“Admittedly, the

standard for facial challenges has been the source of heated debate in the Supreme

Court. But the latest decision appears to bring closure by not requiring a defendant

to show ‘no set of circumstances’ to prevail on a facial vagueness challenge.”) (citation

omitted); Celis v. Williams, 2017 WL 1074917 (S.D. Tex. Mar. 21, 2017), at *6 (“[T]he

Supreme Court rejected the Salerno test in Johnson.”).

       B.     The statute lacks a discernable core

       The question is not whether there is some theoretical conduct that would be

covered by the statute’s ban against instruction on human sexuality. The question is

whether the plain language of the statute provides “a discernable core.” Planned

Parenthood of Ind. & Ky., Inc. v. Marion Cnty. Prosecutor, 7 F.4th 594, 605 (7th Cir.

2021). Or, to put it otherwise, the question is whether the statute is so vague “that

it fails to give ordinary people fair notice of the conduct it punishes, or so standardless

that it invites arbitrary enforcement.” Johnson, 576 U.S. at 595. It is.




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               1.     The State’s various attempts to define the key statutory terms
                      instead illustrate the statute’s vagueness

         As Ms. Smiley described at length in her opening brief (Appellant’s Br. at 17-

24), the statute is doubly infirm, as it layers two undefined and unclear terms—

“instruction” and “human sexuality”—on top of one another, resulting in a prohibition

that lacks a discernable core.

         Everyone agrees that the term “instruction” encompasses Ms. Smiley’s speech

as she stands in front of her class and delivers a formal lesson plan. (Appellant’s Br.

at 17; Appellee’s Br. at 18). But what about informal interactions with students,

whether inside or outside of her classroom? What about books that Ms. Smiley

provides for optional reading in her classroom library or conversations stemming

from them? What about conversations with her students about how to treat one

another with kindness and respect or about their family structures? What about the

messages on Ms. Smiley’s water bottle or car, or answering students’ questions about

those?

         In the trial court, the State articulated its position that instruction means only

“active teaching” to students during class time, and not informal interactions with

students outside of the classroom, stickers on a water bottle, or a book in a classroom

library when not used as part of a “lesson plan.” (District Court Docket [“Dist. Ct.

Dkt.”] 27 at 10-16). On appeal, however, the State appears to have changed its

position about what “instruction” means. The definition it now advocates appears to

sweep much more broadly, and is even less clear than its prior conception. (See

Appellee’s Br. at 27-31). The State begins by articulating that “instruction” means

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“speech that teachers make in connection with their official duties,” (Appellee’s Br. at

27) or “teaching during instructional time or otherwise in association with a teacher’s

duties” (id. at 28). Elsewhere in its brief, the State suggests that “instruction” means

activities “[]related to a formal educational purpose.” (Id. at 29).

      But what does it mean to speak in “connection” or “association” with a teacher’s

“official duties”? What are the activities that are related to a “formal educational

purpose”? None of those descriptions provide further clarity, and indeed they inject

even more uncertainty.        Whatever those descriptions mean, they doubtless

encompass significantly more speech than the State’s prior definition of

“instruction”—the provision of formal lessons during class time. These expanding

definitions illustrate precisely the ills of this vague statute: even if Ms. Smiley could

determine the meaning of “human sexuality” in the statute, how could she determine

what conduct is prohibited?       Even the State cannot arrive at the meaning of

“instruction,” and this alone provides ample grounds for this Court to find the statute

unconstitutionally vague.

      The term “human sexuality” is equally vague. The parties agree that the term

encompasses sexual activity and sexually transmitted diseases, and the State heavily

emphasizes this conception of the term.         (Appellee’s Br. at 37 [citing dictionary

definitions of “sexuality”]). But both in the district court and here, the State has

made clear that this term, as it is used in the statute, is not limited to those subjects.

According to the State, it also includes a wide variety of other topics, such as gender

identity (Dist. Ct. Dkt. 27 at 26-27), “sex organs’ significance” (Appellee’s Br. at 33),


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the expression of sexual interest (id. at 37), attitudes relating to sex (id.), and “the

quality of being sexual, especially sexual orientation” (id.). Given this proposed

definitional scope, the State simply did not and cannot explain how a reasonable

educator, confronted with young inquisitive children who will ask numerous

questions about relationships and human development, is supposed to determine

what this term prohibits. It seemingly includes discussion of gay rights, transgender

youth, “non-traditional” families, anatomical function, or even a girl wanting to kiss

a boy. A reasonable educator like Ms. Smiley simply cannot discern what speech this

statute prohibits and what may subject her to licensing consequences.

             2.     The fact that the statute could be read to prohibit the teaching of
                    “sex education” does not imbue it with a discernable core

      The State contends that the statute should be read to prohibit the formal

teaching of sex education to students in kindergarten through third grade, and if read

that way, it contains a discernable core, thus disposing of the vagueness challenge.

(Appellee’s Br. at 38-39). This argument fails for at least two reasons. First, as the

Supreme Court has made clear, the fact that there is “some conduct that clearly falls

within the provision’s grasp,” does not itself constitute a discernable core. Johnson,

576 U.S. at 602. But in any event, “sex education” is simply not taught to the young

children covered by the statute. (Dist. Ct. Dkt. 26-1 at 13). Given the common-sense

nature of the “discernable core” inquiry, that “core” of meaning certainly cannot be

something unlikely to ever take place. So giving “instruction” on “human sexuality”

must mean more than teaching sex education in the classroom, and indeed, the State

has indicated here that it does. But what? It simply is not clear.

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      C.     The statute invites arbitrary enforcement

      Because the statute lacks a discernable core, and is subject to any number of

interpretations, it invites arbitrary enforcement. This is particularly pronounced

here, as the Secretary of Education has sole enforcement authority, and no

regulations have been promulgated to guide or cabin her enforcement decisions.

When a proscription is subject to multiple permissible interpretations, it invites

arbitrary enforcement. “We have a term for laws like th[is]. We call them vague. And

‘[i]n our constitutional order a vague law is no law at all.’” Dubin v. United States,

599 U.S. 110, 133 (2023) (Gorsuch, J., concurring) (quoting Davis, 139 S. Ct. at 2323).

      The State has several responses regarding the risk of arbitrary enforcement.

First, it points out that licensing actions may only be imposed if a teacher’s conduct

“rise[s] to the level” of the infractions identified in the licensing statute: “(1)

immorality; (2) misconduct in office; (3) incompetency; or (4) willful neglect of duty.”

(Appellee’s Br. at 40). It is unclear what the State hopes to gain by this, as violation

of a state law could surely be expected to fall within at least one of these infractions,

such as “misconduct in office.”

      Next the State suggests that, if a licensing action were brought, a teacher

would “have full enjoyment of the protections of Indiana’s Administrative Orders and

Procedures Act.” (Appellee’s Br. at 40). But this does nothing to substantively cabin

the circumstances under which a teacher could be subjected to a licensing action; it

merely imposes procedural requirements governing how a licensing action, as in any

other administrative action, is to be adjudicated. See Ind. Code § 4-21.5-3. And

finally, the State contends, teachers “could ask the Department of Education or their
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school principals for clarification about how 1608 applies at the outset.” (Appellee’s

Br. at 40). But, as already indicated, the Department of Education has not provided

any regulatory guidance regarding the statute. And any individual school principal’s

opinion regarding the meaning of a state statute is entitled to precisely no weight.

And this suggestion by the State profoundly misunderstands how these issues are

likely to arise, which would rarely allow for pre-clearance of any proposed speech.

      The statue is impermissibly vague in violation of the Fourteenth Amendment.

II.   The statute is impermissibly vague and overbroad in violation of the First
      Amendment

      A.     The activities at issue are protected by the First Amendment

      To be clear, this is not a question of Ms. Smiley’s during-lesson speech. It is

about a wide array of speech that she engages in on a daily basis: the library that she

provides in her classroom and that students are encouraged to visit daily, the

informal conversations she has with students about how to treat one another or about

their family structures, the messages conveyed by the stickers on her water bottle

and her car, and the myriad informal conversations that she has with students to

answer their questions. The speech implicated is wide-ranging and substantial, and

the State’s efforts to insist on a cabined universe of speech is no more persuasive in

the First Amendment context than the Fourteenth Amendment one.

      The State’s argument in opposition to Ms. Smiley’s First Amendment claims,

relying on canons of statutory interpretation and the Supreme Court’s recent decision

in Kennedy v. Bremerton School District, 597 U.S. 507 (2022), is simple: even

assuming some degree of vagueness, Ms. Smiley’s First Amendment rights have not

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been violated because the speech at issue is her employer’s, and not hers. (Appellee’s

Br. at 17-22). The State is incorrect.

      The State’s appeals to canons of statutory interpretation fall flat. Given the

concern that an ill-defined statute impacting expressive activity will have a “chilling”

effect on potential speakers, “in a first amendment case the range of construction to

avoid overbreadth is significantly narrowed.” United States v. Dellinger, 472 F.2d 340,

356 (7th Cir. 1972).

      The State first seeks meaning in the provision’s statutory placement, pointing

out that it appears within Article 30 of the educational code, entitled “Curriculum.”

(Appellee’s Br. at 29). Therefore, argues the State, “instruction” must simply refer to

“the duties of teachers in carrying out the prescribed curriculum.” (Id.). But appeal

to this title is flawed for two reasons. First, Indiana law is clear that “[t]he headings

of titles, articles, and chapters as they appear in the Indiana Code . . . are not part of

the law” and “are not intended to affect the meaning, application, or construction of

the statute they precede.” Ind. Code § 1-1-1-5(f); see also Ind. Dep’t of Envmtl. Mgmt.

v. Raybestos Prods. Co., 897 N.E.2d 469, 475 (Ind. 2008); Shirey v. Flenar, 89 N.E.3d

1102, 1106 n.1 (Ind. Ct. App. 2017). And second, a review of that Article quickly

demonstrates that no such limitation could be inferred even if Indiana’s rules of

statutory construction allowed it: the Article includes any number of provisions

unrelated to prescribed lessons or courses of study, governing things such as the

display of the United States flag, Ind. Code § 20-30-3-4; the observance of a daily

“moment of silence,” Ind. Code § 20-30-5-4.5; the provision of recess, Ind. Code § 20-


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30-5-7.5; and extracurricular activities and employment, Ind. Code §§ 20-30-15-1 to

20-30-15-8. Given this, the State’s proposed limitation simply cannot be gleaned from

the provision’s placement.

       The State’s other primary argument, referring to the statutory provision

defining “instructional time,” fares no better. (Appellee’s Br. at 29 [citing Ind. Code

§ 20-30-2-1 et seq.]).     Because this provision excludes lunch and recess from

“instructional time,” the State appends to the statutory language the conclusion that

“instruction” must therefore include only those activities that “[relate] to a formal

educational purpose.”      (Appellee’s Br. at 29).     But this interpretation cannot be

adopted. For starters, it inserts statutory language that simply does not follow from

the text. Although the statute indicates that passing periods are not excluded from

instructional time, see Ind. Code § 20-30-2-1, no “formal educational purpose” attends

a passing period any more than it does recess or lunch, and the statute says nothing

about why lunch and recess are excluded from instructional time. 1

       In any event, this provision provides no help to the State from a First

Amendment perspective: it only suggests that Ms. Smiley’s display of her water

bottle, her classroom library, and her interactions with students between classes all

take place during “instructional time,” while the same activities with students during

lunchtime or recess do not. Regardless, “instructional time” is defined by Indiana law



1       Moreover, the State’s prior position regarding the provision’s placement within Article
30—“Curriculum”—is entirely inconsistent with the “formal educational purpose”
interpretation it simultaneously advocates. The education code’s only other reference to
recess is in Article 30, which according to the State, concerns itself with formal educational
activities. See Ind. Code § 20-30-5-7.5.
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to serve a very specific purpose: to delineate the required length of the school day.

See Ind. Code § 20-30-2-2. It makes no sense to apply this definition outside of the

context for which it was designed.

      The State’s other substantive argument is to reject the import of the Supreme

Court’s recent decision in Kennedy v. Bremerton School District, 597 U.S. 507 (2022).

Instead, the State articulates a standard for determining what constitutes employer

speech that sweeps much more broadly than Supreme Court precedent supports, and

would lead to absurd results. Indeed, the State does not appear to concede that any

of the speech described by Ms. Smiley is her own private speech, including the

stickers on her water bottle or her car. The State articulates what amounts to a “but-

for” test of employee speech: but-for the teacher’s employee status, could or would the

speech occur? The State’s answer, as to all of Ms. Smiley’s speech, is “no.”

      If the State were correct in the standard it articulates for what constitutes

employee speech, Kennedy was wrongly decided. Of course, a football coach only has

access to the 50-yard line immediately following a game because of his official duties

as a coach. Accepting the State’s formulation means concluding that if Ms. Smiley

placed a sticker on her water bottle that carried a religious message, or answered a

student’s question regarding it, this would be the speech of her employer. Kennedy

confirms that this cannot be the case. Ms. Smiley is “not seeking to convey a

government-created message,” Kennedy, 597 U.S. at 529, and just like the Supreme

Court’s hypothesized teacher wearing a headscarf, or Kennedy’s football coach, Ms.

Smiley privately speaks within the school setting.


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       The State also suggests that, as a primary public-school teacher, Ms. Smiley

has, full stop, “hired out” her speech to her employer. (Appellee’s Br. at 17 [citing

Mayer v. Monroe Cty. Cmty. Sch. Corp., 474 F.3d 477, 479 (7th Cir. 2007)]). Of course,

unlike here, Mayer solely involved speech made by a teacher as part of a prescribed

social studies curriculum, during a lesson. Mayer, 474 F.3d at 478. 2 But in Kennedy,

the Supreme Court concluded that the coach’s speech was not “hired out,” despite

taking place during his on-the-clock duties, as “he was not seeking to convey a

government-created message” and because he did so during a time when he would

have been free to do any number of other things, such as socialize. Kennedy, 597 U.S.

at 529-530.

       In arguing that the statute “does not reach as far as [Ms.] Smiley alleges,” the

State attempts to walk an impossible tightrope. It argues, on the one hand, supra at

13-14, that much of what Ms. Smiley worries about is not “instruction,” but on the

other hand, that nearly everything she does is pursuant to her “official duties” and

therefore constitutes her employer’s speech. The State simply cannot have it both

ways, and again, this malleability underscores the vagueness that infects the statute.

       Ms. Smiley does, consistently with the First Amendment, engage in private

speech during the course of her days in and out of school.




2      All of the relevant cases cited by the State involve teacher speech during prescribed
lessons. (Appellee’s Br. at 20-21 [additionally citing Webster v. New Lenox Sch. Dist. No. 122,
917 F.2d 1004 (7th Cir. 1990), Brown v. Chi. Bd. of Educ., 824 F.3d 713 (7th Cir. 2016)).
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      B.     The statute is a form of prior restraint that should be evaluated
             pursuant to, and fails, the standard articulated in United States v.
             National Treasury Employees Union

      As Ms. Smiley described in her opening brief, this statute constitutes a prior

restraint on the speech of government employees, and therefore should be evaluated

under the standard articulated in United States v. National Treasury Employees

Union (NTEU), 513 U.S. 454, 461-62 (1995). The State contends that because Ms.

Smiley is concerned about losing her license or job if she were to engage in prohibited

speech, a future penalty, “[t]his is not a prior restraint scenario.” (Appellee’s Br. at

32). The State errs and appears to fundamentally misunderstand the nature of a

prior restraint.

      A prior restraint is a restriction on speech that prohibits it before it occurs,

rather than simply punishing it afterward. See, e.g., United States v. Kaun, 827 F.2d

1144, 1150 (7th Cir. 1987) (“Governmental action constitutes a prior restraint when

it is directed to suppressing speech because of its content before the speech is

communicated.”). Or, in the words of Judge Posner “[p]rior restraint is just a fancy

term for censorship, which means prohibiting speech before the speech is uttered or

otherwise disseminated.” McCarthy v. Fuller, 810 F.3d 456, 461 (7th Cir. 2015). The

fact that punishment is threatened for violation of any such prohibition, such as

employment consequences (in the context of challenged employment-related

restrictions), contempt (in the context of violating a court order), or loss of licensure

(in the context of regulatory regimes), does not render the prohibition post hoc. See

Fairley v. Andrews, 578 F.3d 518, 525 (7th Cir. 2009) (“Threatening penalties for


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future speech goes by the name ‘prior restraint,’ and a prior restraint is the

quintessential first-amendment violation.”). Of course, this includes restrictions on

employee speech, which often, as here, apply to large numbers of people on a variety

of issues. See, e.g., Wernsing v. Thompson, 423 F.3d 732, 743-44 (7th Cir. 2005) (citing

NTEU, 513 U.S. at 461-62 and collecting other cases). There can be little doubt that

this statute—prohibiting the speech of government employees before it occurs—is a

prior restraint.

      In this prior-restraint context, the statute is subjected to a form of heightened

scrutiny. The State must show that the interests of both the “vast group of present

and future employees in a broad range of present and future expression,” and of their

potential audiences in hearing that expression, “are outweighed by that expression’s

‘necessary impact on the actual operation’ of the Government.” NTEU, 513 U.S. at

468 (quoting Pickering v. Bd. of Educ., 391 U.S. 563, 571 (1968)).

      The State offers no such impact, instead pointing only to a generalized interest

in making sure “schoolchildren receive age-appropriate education.” (Appellee’s Br. at

33). Weighed against the licensing consequences that loom for Ms. Smiley and all

other school employees, this proffered interest falls dramatically short. Ms. Smiley

is not engaging in expression that is antithetical to or disruptive of the educational

mission of her employer, and the State has not contended otherwise. Therefore, her

speech cannot be suppressed or chilled.




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      C.     Even if this Court were to conclude that NTEU does not apply, the
             statute fails the balancing required by Pickering and Garcetti

      If the statute were not subject to the heightened NTEU standard, it would be

subject to the balancing analysis established in Garcetti v. Ceballos, 547 U.S. 410,

418-20 (2006), and Pickering v. Board of Education of Township High School District

205, Will County, 391 U.S. 563, 568-73 (1968). It fails that balancing as well.

      When an employee speaks as a citizen addressing a matter of public concern,

the Supreme Court has indicated that a court’s next step ordinarily should be

balancing the “competing interests surrounding the speech and its consequences.”

Kennedy, 597 U.S. at 527. That speech is subject to First Amendment protection (1)

if it addresses a matter of public concern; and (2) if the employee’s interest in

“expressing that speech [is] not outweighed by the state’s interests as an employer in

promoting effective and efficient public service.” Swetlik v. Crawford, 738 F.3d 818,

825 (7th Cir. 2013) (quotation and citation omitted).

      In passing, the State appears to suggest that if Ms. Smiley’s audience is

comprised of students, her speech cannot be of public concern. (Appellee’s Br. at 32-

33). But that assertion finds no support in case law. “Speech is of public concern

when it can ‘be fairly considered as relating to any matter of political, social, or other

concern to the community.’” Snyder v. Phelps, 562 U.S. 443, 452 (2011) (quoting

Connick v. Myers, 461 U.S. 138, 146 (1983)). There can be little doubt that the speech

at issue addresses matters of public concern: family relationships and LGBTQ rights,

for example, certainly command the public’s interest and attention.




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       Ms. Smiley has no choice but to chill her speech, and steer far clear of the

bounds of prohibited speech, to avoid potentially running afoul of the prohibition.

Just like this Court’s recent pronouncement on a Wisconsin criminal statute

purporting to prohibit individuals from maintaining “physical proximity” to hunters,

this statute “creates an unacceptable risk” that Ms. Smiley will “refrain from

exercising [her] rights for fear of [licensing] sanctions.” Brown v. Kemp, 86 F.4th 745,

776-77 (7th Cir. 2023). A law’s “chilling effect is particularly great when it is unclear

whether the law actually forbids the contemplated activity,” and that is certainly the

case here. Mercatus Group, LLC v. Lake Forest Hosp., 641 F.3d 834, 847 (7th Cir.

2011) (citation omitted).

       The State does not dispute that Ms. Smiley will change her expressive actions

to avoid running afoul of the statutory prohibition and risk losing her teaching

license.    She will not carry her water bottle, which is essentially a billboard

expressing her personal views. She may have to forego replacing her expressive

bumper stickers on her new car. She will alter the way that she deals with and relates

to students both during the school day and after. This represents a significant burden

on a substantial amount of Ms. Smiley’s speech and potential speech.

       Again, the State points only to a generalized interest in making sure

“schoolchildren receive age-appropriate education.” (Appellee’s Br. at 33). Nothing

about Ms. Smiley’s speech negatively impacts the “state’s interests as an employer in

promoting effective and efficient public service.” Swetlik, 738 F.3d at 825 (quotation




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and citation omitted). Ms. Smiley is therefore likely to succeed in showing that the

statute substantially impairs her First Amendment rights and is unconstitutional.

III.   The remaining preliminary injunction factors are met

       A.    Ms. Smiley faces a likelihood of irreparable harm for which there is no
             adequate remedy at law

       Ms. Smiley’s First Amendment and due process rights are being threatened.

“[T]he loss of First Amendment freedoms, even for minimal periods of time

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976). More generally, “[c]ourts have . . . held that a plaintiff can demonstrate that

a denial of an injunction will cause irreparable harm if the claim is based upon a

violation of the plaintiff’s constitutional rights.”   Overstreet v. Lexington-Fayette

Urban Cnty. Gov’t, 305 F.3d 566, 578 (6th Cir. 2002). This Court has stressed that

the “[t]he loss of First Amendment freedoms is presumed to constitute an irreparable

injury for which money damages are not adequate.” Christian Legal Soc’y v. Walker,

453 F.3d 853, 859 (7th Cir. 2006). The State provides no response as to these harms

or this case law.

       Instead, the State merely contends that licensing actions are rare, and

therefore that there is “[n]o imminent threat to [Ms. Smiley’s] license or job” that

would justify the issuance of an injunction. (Appellee’s Br. at 40-41). But the State

can hardly rely on the commonality of licensing actions in the face of a brand new

statute that focuses on one of the “hot-button” issues of the day. Ms. Smiley is faced

with discipline or the loss of her license and the ability to do the job she loves if she

violates the vague and uncertain terms of the statute. This is irreparable harm. See,

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e.g., Fine Foods, Inc. v. U.S. Dep’t of Agric., 274 F.3d 1137, 1139-40 (7th Cir. 2001)

(loss of a license that would put plaintiff out of business is irreparable harm).

      B.     The balance of harms and the public interest both favor the issuance of
             an injunction

      Granting a preliminary injunction will avoid a threat to constitutional rights

and will not burden the State.       Christian Legal Soc’y, 453 F.3d at 867.        And

“injunctions protecting First Amendment freedoms are always in the public interest.”

Id. at 859 (citation omitted). The State’s only argument concerning these two factors

is that the statute is the result of the legislature’s considered action and, as noted,

that it desires to “protect young students from exposure to potentially inappropriate

instruction from teachers on sex and sexuality.” (Appellee’s Br. at 41-42). But, of

course, the Indiana legislature may go only so far as the United States Constitution

allows, and Ms. Smiley is likely to succeed in showing that it has exceeded those

bounds here. No burden to the State will result from an injunction requiring it to

comply with constitutional norms.


                                   CONCLUSION

      The district court’s decision denying a preliminary injunction in this case

should be reversed. A preliminary injunction should be entered enjoining the

enforcement of HEA 1608 against Ms. Smiley.



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                        CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief conforms to Circuit Rule 32.

      1.     This brief complies with the type-volume limitations set forth in Circuit

Rule 32(c) because it contains 6,535 words based on the “Word Count” feature of

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                           CERTIFICATE OF SERVICE

      I hereby certify that on the 12th day of January, 2024, I electronically filed the

foregoing document with the Clerk of the Court for the United States Court of Appeals

for the Seventh Circuit by using the CM/ECF system. Service will be made on all

ECF-registered counsel by operation of the Court’s electronic system.


                                                     /s/ Stevie J. Pactor
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